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 1   H. Dean Steward, SBN 85317
     17 Corporate Plaza, Suite 254
 2   Newport Beach, California 92660
     Tel (949) 481-4900
 3   Fax (949) 706-9994
 4   Attorney for Defendant
     MICHAEL JOHN AVENATTI
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 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
10               Plaintiff,                       DEFENDANT’S OFFER OF PROOF RE
                                                  SENTENCING RESCHEDULING IN THE
11                      v.                        SOUTHERN DISTRICT OF NEW YORK
12   MICHAEL JOHN AVENATTI,
13               Defendant.
14
15
16         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17   counsel of record, H. Dean Steward, hereby files his Offer of Proof Re Sentencing
18   Rescheduling in the Southern District of New York.
19         During the hearing earlier today on Defendant’s Ex Parte Application For an
20   Order Continuing Trial Date and Finding Excludable Time Due to Recent Pervasive
21   Publicity and the Government’s Associated Conduct (the “Application”) [Dkt. 534], the
22   government made various representations to the Court relating to Mr. Avenatti’s reasons
23   for delaying his sentencing in the Southern District of New York in Case No. 19 Cr. 373
24   (PGG) (the “Nike case”) and the specific requests made to that court. This Court
25   subsequently relied on those representations when denying the Application.
26         Attached hereto as Exhibits A, B and C are true and correct copies of three
27   relevant letter motions previously filed in the Nike case concerning Mr. Avenatti’s
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 1   efforts to adjourn the sentencing date in that case and the reasons those adjournments
 2   were requested [SDNY Dkt. 311 (March 30, 2021); SDNY Dkt. 312 (March 31, 2021);
 3   and SDNY Dkt. 324 (June 21, 2021)].
 4
 5    Dated: July 13, 2021                     Respectfully submitted,
 6
                                              /s/ H. Dean Steward
 7                                             H. DEAN STEWARD
 8                                            Attorney for Defendant
                                              MICHAEL JOHN AVENATTI
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27                                    Exhibit A
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                                    March 30, 2021

Via ECF
Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:    United States v. Avenatti, No. S1 19 Cr. 373 (PGG)
              Unopposed Motion for an Additional 50-day Adjournment
              of Sentencing Date and Filing of Sentencing Submissions

Dear Judge Gardephe

       Mr. Avenatti’s sentencing hearing is currently scheduled for May 7, 2021. We write to
respectfully request an additional adjournment of the sentencing date for approximately fifty
(50) days, until June 23-25, 2021, or June 28-30, 2021. Mr. Avenatti further requests a
corresponding adjournment of the dates for the defense and government to file their sentencing
submissions. The government does not oppose the requested adjournment.
       As this Court is aware, on February 14, 2020, a jury found Mr. Avenatti guilty of the
three counts charged against him in the Superseding Indictment. At the time, Mr. Avenatti was
in custody pursuant to a remand order entered by United States District Judge James Selna of
the Central District of California. On April 24, 2020, Mr. Avenatti was temporarily released
to home confinement in California pursuant to conditions set by Judge Selna in the wake of
the COVID-19 pandemic. See United States v. Avenatti, Case No. SA-CR-19-61-JVS (ECF
No. 154:7). Mr. Avenatti remains under home confinement in Venice, California.
        COVID-19        cases    continue   to   spike      around    the   United    States.
https://www.cnn.com/2021/03/30/health/us-coronavirus-tuesday/index.html.         The United
States has averaged 65,700 new cases per day over the last week – a 22% jump from the prior
week. The seven-day moving average of new cases in New York City is 6,166 (and 10,033
new cases in the State), higher than when the Court last granted an adjournment. The director
of the CDC has expressed concern about surges because of spring break travel and the B.1.1.7
variant that is deadlier and more contagious. On March 11, 2021, the United States District
Court for the Southern District of New York issued a Fourth Amended Standing Order, M-10-
468, 20 Misc 176 (CM), extending the provisions of the CARES Act for the holding of criminal
proceedings remotely for 90 days from March 24, 2021 (i.e., through June 22, 2021), having
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found that proceedings such as sentencing hearings “cannot in all instances be conducted in
person without seriously jeopardizing public health and safety.”
       Mr. Avenatti is scheduled to receive his first dose of a two-dose COVID-19 vaccine
regimen during the last week of April 2021. His two daughters will finish high school in
California on or about June 10, 2021 and wish to attend the sentencing hearing. For these
reasons, Mr. Avenatti respectfully requests that the Court grant an additional adjournment of
the sentencing of approximately 50 days, until late June 2021, before requiring him and his
family to travel to New York for sentencing. It is reasonable to expect that, by late June 2021,
Mr. Avenatti will have been fully vaccinated and the increased vaccination of the public will
make domestic travel safer and allow for in-person hearings. Moreover, Mr. Avenatti
respectfully requests that his sentencing submission be due three weeks before any new
sentencing date and that the government’s sentencing submission be due one week after the
due date for the defense submission.
       A further delay would not prejudice the government. Mr. Avenatti remains on home
confinement, subject to restrictive conditions, and continues to prepare for multiple trials in
connection with two additional indictments.1 The alleged victims in the case – Coach Gary
Franklin and Nike – have already testified extensively at trial, so there is no risk that the victims
will not be heard.
       The government advised that it has no objection to an adjournment to the suggested
dates. Thank you for your consideration of this request.
                                                 Respectfully Submitted,
                                                 /s Scott Srebnick
                                                 Scott A. Srebnick
                                                 E. Danya Perry

cc: Government Counsel




1
    Mr. Avenatti’s trial (of severed counts) in the California case has been set for July 13, 2021.
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                                   March 31, 2021

Via ECF
Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:    United States v. Avenatti, No. S1 19 Cr. 373 (PGG)
              Letter of Correction Regarding Proposed Adjournment

Dear Judge Gardephe

       In the letter motion undersigned counsel filed yesterday requesting an adjournment of
Mr. Avenatti’s sentencing date, we proposed June 28, 2021, as one of the dates for a
rescheduled sentencing. Undersigned counsel (Srebnick) overlooked that Mr. Avenatti has a
status conference scheduled at 8:00am on that date in his California case. Therefore, we
respectfully propose that Mr. Avenatti’s sentencing date be scheduled on June 23-25, 2021,
or June 29-30, 2021 and not on June 28.
       Thank you for your understanding and consideration of this request.
                                          Respectfully Submitted,
                                          /s Scott Srebnick
                                          Scott A. Srebnick
                                          E. Danya Perry

cc: Government Counsel
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                                      June 21, 2021

Via ECF
Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:     United States v. Avenatti, No. S1 19 Cr. 373 (PGG)
               Motion for an Additional 60-day Adjournment of
               Sentencing Date

Dear Judge Gardephe:

        Mr. Avenatti’s sentencing hearing is currently scheduled for June 30, 2021. We write
to respectfully request an additional adjournment of the sentencing date for approximately
sixty (60) days, until late August 2021.
        The reasons for this request are two-fold. First, for the first time last Wednesday, the
government provided notice that it will seek $1,000,000 in restitution on behalf of Nike by filing
certain information in camera. (Dkt No. 321:15-17 & n.3). The restitution request was
unexpected; the PSR states that restitution is “not an issue,” “not applicable” and “not
recommended,” and does not include any information from the victims necessary to make such a
determination. PSR, at pp. 34, 44. Mr. Avenatti is entitled to review documents and information
relevant to this request in advance of the sentencing hearing; he has received none. Indeed, 18
U.S.C. §3664(a) requires that the PSR, or a separate report, include “information sufficient for
the court to exercise its discretion in fashioning a restitution order.” The PSR does not contain
any such information. Section 3664(a) further requires the PSR include, “to the extent
practicable, a complete accounting of the losses to each victim…” The PSR does not contain
such information. Moreover, 18 U.S.C. §3664(d)(1) requires that “not later than 60 days prior to
the date initially set for sentencing, the attorney for the Government, after consulting, to the
extent practicable, with all identified victims, shall promptly provide the probation officer with a
listing of the amounts subject to restitution.” To our knowledge, the government did not timely
provide such information. Finally, 18 U.S.C. §3664(d)(5) provides that “[i]f the victim’s losses
are not ascertainable by the date that is 10 days prior to sentencing, the attorney for the
Government or probation officer shall so inform the court, and the court shall set a date for the
final determination of the victim’s losses, not to exceed 90 days after sentencing.” We are now
nine days prior to sentencing, yet Nike still has not provided the defense with sufficient
information related to its claimed losses. It makes sense as a matter of judicial economy to have
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 Mr. Avenatti’s sentencing and restitution hearing in this case held in one proceeding, rather than
 in two separate proceedings ninety days apart.
          Second, an adjournment will allow time for the Court to resolve Mr. Avenatti’s pending
 motions before he is sentenced. This includes the motion to compel, recently filed by separate
 counsel, addressing issues related to the government’s failure to disclose certain 3500 material at
 trial. As noted in his submissions (Dkt. Nos. 315, 323), Mr. Avenatti respectfully requests time
 to make a record of the government’s discovery lapses and related issues before he is sentenced
 in this case.
        Mr. Avenatti’s trial in the Central District of California is scheduled to commence on
 July 13, 2021 and last four weeks, For the foregoing reasons, we respectfully request that the
 Court adjourn Mr. Avenatti’s sentencing by 60 days until the week of August 30, 2021. We have
 conferred with the government; AUSA Sobelman advises that the government opposes this
 request.
        Thank you for your consideration.


                                              Respectfully Submitted,
                                              /s Scott Srebnick
                                              Scott A. Srebnick
                                              E. Danya Perry
 cc: Government Counsel
     Case 8:19-cr-00061-JVS Document 537 Filed 07/13/21 Page 11 of 11 Page ID #:9317




 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5    92660. I am not a party to the above-entitled action. I have caused, on July 13, 2021,

 6    service of the:
 7
       DEFENDANT’S OFFER OF PROOF RE SENTENCING RESCHEDULING IN THE
 8                    SOUTHERN DISTRICT OF NEW YORK

 9    on the following party, using the Court’s ECF system:
10
      AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
      I declare under penalty of perjury that the foregoing is true and correct.
12
13    Executed on July 13, 2021
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                                              /s/ H. Dean Steward
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                                              H. Dean Steward
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